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                                    EXHIBIT 25
      Case: 1:21-cv-06546 Document #: 70-30 Filed: 11/08/22 Page 2 of 2 PageID #:1076




To: Brandon Pruitt[      im (@tisbook.com|]

From: Kaufmann, Martin E[/O=AD-UILLINOIS-EDU/OU=EXCHANGEADMINISTRATIVE GROUP (FYDIBOHF23SPDLTYCN=RECIPIENTS/CN=MEKAUFMA]

Sent: Fri 3/8/2013 4:10:49 PM Coordinated Universal Time

Subject: RE: T.LS. College Bookstore



 Branden —
 We would not te in favor of having a dedicated computer for the sale of Chief merchartdise, | bellave that is probably crossing the fine. Also, in a keger
 nicture, | already have ta balance wishes af thase an campus that would ever prefer that the Chief praduct isn’t promoted at all. i've always said that it can be
 promoted an store, but riot sold, i fearful that if we were to allowthe computer it could nave more drastic negative implications where the promuation of
 online saias might have to go away.
 Would it be okayto just say that Chief merchandise is available aniline, and then i'm okay with you saying, ask a sales associate if you have any questions or
 need assistance. you want to assist somekedy at one of your existing computers or talk sameoody through the process, | don’t really        think we could stat
 that. it just would not be as blatant has having a dedicated computer or “Chief liinwek” sales station set up. f think that would be the biggest issue is having a
 dedicated area where people can just order fram. If a customer knows ta ask a TIS worker for help and theyassist, than | think that fs probably fust good
 customer service.
 lappraciate you reaching out and appreciate your thoughts on my aperaach.
 On a separate nota, is soring break a goad waek to set us a time for me to come over for 30 minutes or so and say hl? Or the waek after? March 19-30 ar March
 26-28 are all pretty good days for me.
 Thank you,
 Marty
             Marly Kaufmann
             Aasistant Direclar of Athletics
                       of Intercallegiate Athieties | University of Hinais
             1700 South Fourth Street { Champaign, IL 61820
             Phone: 277.338.2474

              TRA     MOES, OUR STATS. OUR TEAM.


 From: Brandon Pruitt [mailto             @tisbook.com]
 Sent: Thursday, March 07, 2!            "09 PM
 To: Kaufmann, Martin E
 Subject: RE: T.1.S. College Bookstore
 Mr. Kaufmann,
 We nave been kicking arcund an idea here in the store fara few months, and wanted to bounce it off of you and see your thoughts. it's concerning Chief
 ilriwek merchandise and the oniine sales only stipulation - we were wondering if the University would be against us setting up a camputer on our sales
 floor sa that customers in here ana game day would be able to place an order-onling- out in aur store, and leave wf their merchandise that day?
 The main reason for this is we have had a lot of older custamers stop by In the store, asking to buy the merchandise, bacausa they don't have a computer, ar
 the internet, or because they don't know haw to purchase aniline, and we see the majority of these custamers on Football Saturdays and home basketball
 games, and the majority of them are Alums.
 We thought it sounded like it might ‘ride the line’ a little bit and so we wanted to speak with you about it before making a decision, we absalutely da not
 want ta proceed unless it is sarnething the Urtiversity is okay with.
 Brandon Pruitt
 TALS. Collage Bookstore
 7O7 S, 6th Street
 Champaign, tlinais
 61820
 247,337 4900




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                                                                                                                                                Exhibit 25
